                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

ROBERT MUSE,                                   )
                                               )
              Plaintiff,                       )
                                               )
v.                                             )       No.:   2:20-CV-173-TAV-CRW
                                               )
KATY WILSON,                                   )
                                               )
              Defendant.                       )


                                  JUDGMENT ORDER

       For the reasons set forth in the memorandum opinion filed contemporaneously with

this order:

       1.     Plaintiff’s motion for leave to proceed in forma pauperis [Doc. 1] is
              GRANTED;

       2.     Plaintiff is ASSESSED the civil filing fee of $350.00;

       3.     The custodian of Plaintiff’s inmate trust account is DIRECTED to submit
              the filing fee to the Clerk in the manner set forth above;

       4.     The Clerk is DIRECTED to provide a copy of the memorandum opinion and
              this order to the custodian of inmate accounts at the institution where Plaintiff
              is now confined and to the Court’s financial deputy;

       5.     Even liberally construing the complaint in favor of Plaintiff, it fails to state a
              claim upon which relief may be granted under § 1983;

       6.     Accordingly, this action is DISMISSED pursuant to 28 U.S.C.
              §§ 1915(e)(2)(B) and 1915(A);

       7.      Because the Court CERTIFIED in the memorandum opinion that any
              appeal from this order would not be taken in good faith, should Plaintiff file
              a notice of appeal, he is DENIED leave to appeal in forma pauperis. See 28
              U.S.C. § 1915(a)(3); Fed. R. App. P. 24; and




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      8.    The Clerk is DIRECTED to close the file.

      IT IS SO ORDERED.

      ENTER:


                               s/ Thomas A. Varlan
                               UNITED STATES DISTRICT JUDGE




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